               Case 1:23-cr-00177-ABJ Document 41-1 Filed 01/22/24 Page 1 of 7




    Exhibit Description                  Bates Range Def.’s Objection 1
                                             SERIES 1000
    1001    Lamond Secret Chat Forensic USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
            Report                       00424084‐   Objection – hearsay under Fed. R. Evid. 802
                                         00424087
    1002    Tarrio Secret Chat Forensic USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
            Report                       00424026‐   Objection – hearsay under Fed. R. Evid. 802
                                         00424029
    1003    Tarrio Phone Forensic        USAO‐DC     Objection – incomplete under Fed. R. Evid. 106;
            Report_Timeline              00424101‐   Objection – hearsay under Fed. R. Evid. 802
                                         00424134
    1004    Lamond Phone Forensic        USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
            Report_Timeline              00424089‐   Objection – hearsay under Fed. R. Evid. 802
                                         00424124
    1005    Email from P. Courtney to A. USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
            Mufti, Subject : Review      00405187‐   Objection – hearsay under Fed. R. Evid. 802
            Warrant (12/28/20)           00405190
    1006    Manicini Report 1B2 Part     USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
            One Final                    00424125‐   Objection – hearsay under Fed. R. Evid. 802
                                         00424127
    1006A   12.20.2020 Email from Shane USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
            Lamond to Commander          00424128    Objection – hearsay under Fed. R. Evid. 802
            Parsons FW: Subject in Photo
    1006B   12.13.2020 Email from Shane USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
            Lamond to Kelly              424129‐     Objection – hearsay under Fed. R. Evid. 802
            O’Meara re: BLM signs        00424130
    1006C   12.22.2020 email from Shane USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
            Lamond to Commander          00424131‐   Objection – hearsay under Fed. R. Evid. 802
            Parsons re: Podcast          004242132
    1006D   12.20.2020 email from Shane USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
            Lamond to Franklyn           00424133‐   Objection – hearsay under Fed. R. Evid. 802
            Then re: Subject in Photo    00424134
    1007    Mancini Report_1B2 Part      USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
            2_Final                      00424135‐   Objection – hearsay under Fed. R. Evid. 802
                                         00424137
    1007    1.2.2021 email from Shane    USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
            Lamond to Charlie Cox,       00424138    Objection – hearsay under Fed. R. Evid. 802
            subject: Passenger Check
    1007B   1.3.2021 email from Charlie USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
            Cox to Shane Lamond RE:      00424139    Objection – hearsay under Fed. R. Evid. 802
    1007C   1.2.2021 email from Shane    USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
            Lamond to Charlie Cox,       00424140‐   Objection – hearsay under Fed. R. Evid. 802
            subject: Subject Info        00424141
    1008    Mancini Report 1B3 Emails USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
            Final                        00424142‐   Objection – hearsay under Fed. R. Evid. 802
                                         00424144


1
 Defendant Shane Lamond objects to the use of the exhibits to the extent there are objections at this time.
However, Mr. Lamond respectfully reserves the right to object during the course of trial to the use of any
exhibit based on how the government intends to use the exhibit and how the exhibit is introduced into
evidence.
           Case 1:23-cr-00177-ABJ Document 41-1 Filed 01/22/24 Page 2 of 7


100A    12.18.2020 email from Shane USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
        Lamond to David T.           00424145‐    Objection – hearsay under Fed. R. Evid. 802
        Hong, Re: BLM Banner         00424146
1008B   12.18.2020 email from Shane USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
        Lamond to Carolyn            00424147‐    Objection – hearsay under Fed. R. Evid. 802
        Montagna, Re: Phone Tip      00424148
1008C   12.21.2020 email from Shane USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
        Lamond to Commander          00424149‐    Objection – hearsay under Fed. R. Evid. 802
        Parsons, Re: Tarrio?         00424151
1009    12.21.2020 email from Ahsan USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
        Mufti, FW: Review            00424053‐    Objection – hearsay under Fed. R. Evid. 802
        Warrant                      00424055
1010    12.28.2020 email from        USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
        Julianne Johnston, RE:       00424056‐    Objection – hearsay under Fed. R. Evid. 802
        Review                       00424059
        Warrant
1011    12.28.2020 email from Paul USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
        Courtney, RE: Review         00424060‐    Objection – hearsay under Fed. R. Evid. 802
        Warrant                      00424063
1012    12.22.2020 email from Ahsan USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
        Mufti with subject:          00424064     Objection – hearsay under Fed. R. Evid. 802
        Resubmission # 1
1013    12.30.2020 email from Ashan USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
        Mufti, FW: 2020              00405217‐    Objection – hearsay under Fed. R. Evid. 802
        CRWSLD 005553 Henry          00405218
        Tario
1014    12.29.2020 email from Ahsan USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
        Mufti, RE: Resubmission      00424067‐    Objection – hearsay under Fed. R. Evid. 802
                                     00424069
1015    1.7.2021 email from Julie E. USAO‐DC‐ Objection – incomplete under Fed. R. Evid. 106;
        Farnam to Shane              00388472     Objection – hearsay under Fed. R. Evid. 802
        Lamond, subject: FBI’s List
1016    Shane Lamond Interview       USAO‐DC
                                     013970
1016A   Shane Lamond Interview Clip USAO‐DC       Objection – incomplete under Fed. R. Evid. 106;
        at 18:59 to 19:55            013970       Objection – hearsay under Fed. R. Evid. 802
1016B   Shane Lamond Interview Clip USAO‐DC       Objection – incomplete under Fed. R. Evid. 106;
        at 23:35 to 23:53            013970       Objection – hearsay under Fed. R. Evid. 802
1016C   Shane Lamond Interview Clip USAO‐DC       Objection – incomplete under Fed. R. Evid. 106;
        at 24:03 to 24:31            013970       Objection – hearsay under Fed. R. Evid. 802
1016D   Shane Lamond Interview Clip USAO‐DC       Objection – incomplete under Fed. R. Evid. 106;
        at 7:27 to 10:13             013970       Objection – hearsay under Fed. R. Evid. 802
1016E   Shane Lamond Interview Clip USAO‐DC       Objection – incomplete under Fed. R. Evid. 106;
        at 10:13 to 11:55            013970       Objection – hearsay under Fed. R. Evid. 802
1016F   Shane Lamond Interview Clip USAO‐DC       Objection – incomplete under Fed. R. Evid. 106;
        at 2:51 to 3:10              013970       Objection – hearsay under Fed. R. Evid. 802
                                    SERIES 2000: RECORDS

2001    American Airlines Flight     USAO‐DC‐
        Records                      00424084‐
                                     00424085
          Case 1:23-cr-00177-ABJ Document 41-1 Filed 01/22/24 Page 3 of 7


2002   ATT Phone Toll Records for USAO‐DC‐
       (202) 437‐0434                 00394591‐
                                      00403109
2003   Sprint Phone Toll Records for USAO‐DC‐
       (703) 863‐9829                 00424032‐
                                      00424032
2004   Sprint Subscriber Records for USAO‐DC‐
       (703) 863‐9829                 00394506‐
                                      00394510
2005   Tarrio flight information from USAO‐DC‐
       01/04/2021                     424086‐
                                      424091
2006   Tmobile Records for (703)      USAO‐DC‐
       863‐9829                       00394587
                                SERIES 3000: MPD DOCUMENTS

3001   120.23 ‐ Serious Misconduct USAO‐DC‐    Objection – irrelevant under Fed. R. Evid. 402;
       Investigations              00423999‐   Objection – even if relevant, its probative value is
                                   00424014    substantially outweighed by unfair prejudice,
                                               confusing the issues, and misleading the jury
                                               under Fed. R. Evid. 403
3002   201.26 ‐ Duties           USAO‐DC‐      Objection – irrelevant under Fed. R. Evid. 402;
                                 00423918‐     Objection – even if relevant, its probative value is
                                 00423929      substantially outweighed by unfair prejudice,
                                               confusing the issues, and misleading the jury
                                               under Fed. R. Evid. 403
3003   201.36 ‐ Code of Ethics   USAO‐DC‐      Objection – irrelevant under Fed. R. Evid. 402;
                                 00423930‐     Objection – even if relevant, its probative value is
                                 00423932      substantially outweighed by unfair prejudice,
                                               confusing the issues, and misleading the jury
                                               under Fed. R. Evid. 403
3004   301.04 ‐ Criminal         USAO‐DC‐      Objection – irrelevant under Fed. R. Evid. 402;
       Investigations            00423933‐     Objection – even if relevant, its probative value is
                                 00423948      substantially outweighed by unfair prejudice,
                                               confusing the issues, and misleading the jury
                                               under Fed. R. Evid. 403
3005   601.02 Preservation of    USAO‐DC‐      Objection – irrelevant under Fed. R. Evid. 402;
       Discovery                 00423949‐     Objection – even if relevant, its probative value is
                                 00423951      substantially outweighed by unfair prejudice,
                                               confusing the issues, and misleading the jury
                                               under Fed. R. Evid. 403
3006   302.08 ‐ MPD Expectation of USAO‐DC‐    Objection – irrelevant under Fed. R. Evid. 402;
       Privacy                     00423952‐   Objection – even if relevant, its probative value is
                                   00423963    substantially outweighed by unfair prejudice,
                                               confusing the issues, and misleading the jury
                                               under Fed. R. Evid. 403
3007   304.12 ‐ Sources          USAO‐DC‐      Objection – irrelevant under Fed. R. Evid. 402;
                                 00389095‐     Objection – even if relevant, its probative value is
                                 00389114      substantially outweighed by unfair prejudice,
                                               confusing the issues, and misleading the jury
                                               under Fed. R. Evid. 403
          Case 1:23-cr-00177-ABJ Document 41-1 Filed 01/22/24 Page 4 of 7


3008   PD‐127 ‐ Confidential Fund    USAO‐DC‐    Objection – irrelevant under Fed. R. Evid. 402;
       Expenditure Sheet             00421691    Objection – even if relevant, its probative value is
                                                 substantially outweighed by unfair prejudice,
                                                 confusing the issues, and misleading the jury
                                                 under Fed. R. Evid. 403
3009   PD‐153 ‐ Receipt for          USAO‐DC‐ Objection – irrelevant under Fed. R. Evid. 402;
       Expended Advanced MPDC 00421692           Objection – even if relevant, its probative value is
       Funds                                     substantially outweighed by unfair prejudice,
                                                 confusing the issues, and misleading the jury
                                                 under Fed. R. Evid. 403
3010   PD‐854 ‐ Investigative File   USAO‐DC‐ Objection – irrelevant under Fed. R. Evid. 402;
       Report                        00421693    Objection – even if relevant, its probative value is
                                                 substantially outweighed by unfair prejudice,
                                                 confusing the issues, and misleading the jury
                                                 under Fed. R. Evid. 403
3011   Tarrio ‐ Central Source       USAO‐DC‐ Objection – government has not produced
       Registry ‐ MPD                00421708    evidence to support a finding that the document is
                                                 what they say it is under Fed. R. Evid. 901(a);
                                                 Objection – irrelevant under Fed. R. Evid. 402;
                                                 Objection – even if relevant, its probative value is
                                                 substantially outweighed by unfair prejudice,
                                                 confusing the issues, and misleading the jury
                                                 under Fed. R. Evid. 403
3012   Lamond ‐ Central Source       USAO‐DC‐ Objection – government has not produced
       Registry ‐ MPD                00421707    evidence to support a finding that the document is
                                                 what they say it is under Fed. R. Evid. 901(a);
                                                 Objection – irrelevant under Fed. R. Evid. 402;
                                                 Objection – even if relevant, its probative value is
                                                 substantially outweighed by unfair prejudice,
                                                 confusing the issues, and misleading the jury
                                                 under Fed. R. Evid. 403
                                   SERIES 4000: Miscellaneous

4001   12/18/2020 Washington Post USAO‐DC‐          Objection – government has not produced
       Article                    00424017‐         evidence to support a finding that the document is
                                  00424019          what they say it is under Fed. R. Evid. 901(a);
                                                    Objection – hearsay under Fed. R. Evid. 802
4002   Video January 5, 2021         USAO‐DC        Objection – incomplete under Fed. R. Evid. 106;
                                     013992         Objection – hearsay under Fed. R. Evid. 802
4003   Timeline Final: Summary       USAO‐DC‐       Objection – incomplete under Fed. R. Evid. 106;
       Chart of communications       00424030‐      Objection – hearsay under Fed. R. Evid. 802
       between 02/09/2020 and        00424030
       01/07/2021
4004   Parler Post by @NobleLead     USAO‐DC‐       Objection – government has not produced
       (12/18/2020)                  00424016‐      evidence to support a finding that the document is
                                     00424016       what they say it is under Fed. R. Evid. 901(a);
                                                    Objection – hearsay under Fed. R. Evid. 802
4005   Summary Chart 10/24/2019 – USAO‐DC‐          Objection – incomplete under Fed. R. Evid. 106;
       6/22/2020                  00424195‐         Objection – hearsay under Fed. R. Evid. 802
                                  00424208
4006   Timeline Final ‐ Summary   USAO‐DC‐          Objection – incomplete under Fed. R. Evid. 106;
       Chart of Communications    00424209‐         Objection – hearsay under Fed. R. Evid. 802
       10.24.2019 ‐               00424259
          Case 1:23-cr-00177-ABJ Document 41-1 Filed 01/22/24 Page 5 of 7


       1.27.2021

4007   Summary Chart 6/26/2020 –   USAO‐DC‐    Objection – incomplete under Fed. R. Evid. 106;
       7/8/2020                    00424260‐   Objection – hearsay under Fed. R. Evid. 802
                                   00424264
4008   Summary Chart 10/4/2020 –  USAO‐DC‐     Objection – incomplete under Fed. R. Evid. 106;
       10/19/2020                 00424265‐    Objection – hearsay under Fed. R. Evid. 802
                                  00424275
4009   Summary Chart 10/29/2020 USAO‐DC‐       Objection – incomplete under Fed. R. Evid. 106;
                                  00424276‐    Objection – hearsay under Fed. R. Evid. 802
                                  00424279
4010   Summary Chart 11/2/2020    USAO‐DC‐     Objection – incomplete under Fed. R. Evid. 106;
                                  00424280‐    Objection – hearsay under Fed. R. Evid. 802
                                  00424281
4011   Summary Chart 11/3/2020 – USAO‐DC‐      Objection – incomplete under Fed. R. Evid. 106;
       11/5/2020                  00424282‐    Objection – hearsay under Fed. R. Evid. 802
                                  00424289
4012   Summary Chart 11/7/2020    USAO‐DC‐     Objection – incomplete under Fed. R. Evid. 106;
                                  00424290‐    Objection – hearsay under Fed. R. Evid. 802
                                  00424293
4013   Summary Chart 11/8/2020    USAO‐DC‐     Objection – incomplete under Fed. R. Evid. 106;
                                  00424294‐    Objection – hearsay under Fed. R. Evid. 802
                                  00424298
4014   Summary Chart 11/9/2020 – USAO‐DC‐      Objection – incomplete under Fed. R. Evid. 106;
       11/10/2020                 00424299‐    Objection – hearsay under Fed. R. Evid. 802
                                  00424303
4015   Summary Chart 11/13/2020 USAO‐DC‐       Objection – incomplete under Fed. R. Evid. 106;
                                  00424304‐    Objection – hearsay under Fed. R. Evid. 802
                                  00424306
4016   Summary Chart 11/14/2020 – USAO‐DC‐     Objection – incomplete under Fed. R. Evid. 106;
       11/16/2020                 00424307‐    Objection – hearsay under Fed. R. Evid. 802
                                  00424310
4017   Summary Chart 12/7/2020 – USAO‐DC‐      Objection – incomplete under Fed. R. Evid. 106;
       12/12/2020, 5:39PM         00424311‐    Objection – hearsay under Fed. R. Evid. 802
                                  00424320
4018   Summary Chart 12/12/2020, USAO‐DC‐      Objection – incomplete under Fed. R. Evid. 106;
       7:30PM – 12/20/2020        00424321‐    Objection – hearsay under Fed. R. Evid. 802
                                  00424350
4019   Summary Chart 12/21/2020 – USAO‐DC‐     Objection – incomplete under Fed. R. Evid. 106;
       12/28/2020                 00424351‐    Objection – hearsay under Fed. R. Evid. 802
                                  00424355
4020   Summary Chart 12/29/2020 – USAO‐DC‐     Objection – incomplete under Fed. R. Evid. 106;
       12/30/2020, 2:39PM         00424356‐    Objection – hearsay under Fed. R. Evid. 802
                                  00424358
4021   Summary Chart 12/30/2020, USAO‐DC‐      Objection – incomplete under Fed. R. Evid. 106;
       5:56PM – 12/31/2020        00424359‐    Objection – hearsay under Fed. R. Evid. 802
                                  00424363
4022   Summary Chart 1/1/2021,    USAO‐DC‐     Objection – incomplete under Fed. R. Evid. 106;
       1:11PM                     00424364‐    Objection – hearsay under Fed. R. Evid. 802
                                  00424365
4023   Summary Chart 1/1/2021,    USAO‐DC‐     Objection – incomplete under Fed. R. Evid. 106;
       1:33PM – 1/2/2021          00424366‐    Objection – hearsay under Fed. R. Evid. 802
          Case 1:23-cr-00177-ABJ Document 41-1 Filed 01/22/24 Page 6 of 7


                                     00424377

4024   Summary Chart 1/4/2021       USAO‐DC‐     Objection – incomplete under Fed. R. Evid. 106;
                                    00424378‐    Objection – hearsay under Fed. R. Evid. 802
                                    00424381
4025   Summary Chart 1/7/2021 –     USAO‐DC‐     Objection – incomplete under Fed. R. Evid. 106;
       1/27/2021                    00424382‐    Objection – hearsay under Fed. R. Evid. 802
                                    00424393
4026   Summary Chart Shame          USAO‐DC‐     Objection – incomplete under Fed. R. Evid. 106;
       Lamond's Contacts            00424394‐    Objection – hearsay under Fed. R. Evid. 802
                                    00424395
4027   Summary Chart of Messages USAO‐DC‐        Objection – incomplete under Fed. R. Evid. 106;
       between Shane Lamond         00424396     Objection – hearsay under Fed. R. Evid. 802
       and Enrique Tarrio, Oct.
       2019‐Jan. 2021
4028   Summary Chart of Messages USAO‐DC‐        Objection – incomplete under Fed. R. Evid. 106;
       between Shane Lamond and 00424397         Objection – hearsay under Fed. R. Evid. 802
       Enrique Tarrio, Nov. 7, 2020
       to Jan. 27, 2021
4029   Summary Chart Messages       USAO‐DC‐     Objection – incomplete under Fed. R. Evid. 106;
       between Shane Lamond &       00424398     Objection – hearsay under Fed. R. Evid. 802
       Enrique Tarrio Before
       November 7, 2020
4030   Summary Chart Messages       USAO‐DC‐     Objection – incomplete under Fed. R. Evid. 106;
       between Shane Lamond &       00424399     Objection – hearsay under Fed. R. Evid. 802
       Enrique Tarrio November 7,
       2020 ‐ December 12,
       2020
4031   Summary Chart Messages       USAO‐DC‐     Objection – incomplete under Fed. R. Evid. 106;
       between Shane Lamond &       00424400     Objection – hearsay under Fed. R. Evid. 802
       Enrique Tarrio After
       December 12, 2020
4032   Summary Chart Messages       USAO‐DC‐     Objection – incomplete under Fed. R. Evid. 106;
       between Shane Lamond &       00424401     Objection – hearsay under Fed. R. Evid. 802
       Enrique Tarrio October 2019
       through January 2021


                        SERIES 5000 IDENTIFICATION PURPOSES

5001   Dell Latitude 5424 Rugged     USAO‐DC‐    Objection – incomplete under Fed. R. Evid. 106;
       laptop computer image         00421759‐   Objection – hearsay under Fed. R. Evid. 802
       report 1 (1B2)                00422902
5002   Dell Latitude 5424 Rugged     USAO‐DC‐    Objection – incomplete under Fed. R. Evid. 106;
       laptop computer image         00421720‐   Objection – hearsay under Fed. R. Evid. 802
       report 2 (1B2_Part 2)         00421758
5003   Dell Precision 3430 desktop   USAO‐DC‐    Objection – incomplete under Fed. R. Evid. 106;
       computer, model D11S,         00422903‐   Objection – hearsay under Fed. R. Evid. 802
       image report (1B3)            00423595
              Case 1:23-cr-00177-ABJ Document 41-1 Filed 01/22/24 Page 7 of 7


    5004   Forensic Report_Tarrio         USAO‐DC‐        Objection as hearsay under Fed. R. Evid. 802 2
                                          000021‐
                                          000023
    5005   Forensic Report_Lamond         USAO‐DC‐        Objection as hearsay under Fed. R. Evid. 802
                                          00417119‐
                                          00417121
    5006   Shane Lamond Interview         USAO‐DC‐
           Transcript                     00424154‐
                                          00424194




2
 It is unclear if the government intends to bring these reports in through their noticed expert, Jennifer
Kathryn Cain. To do so, the government bears the burden to establish that Ms. Cain has the credentials to
be admitted as an expert and to the extent that the government is unable to do so in trial, Defendant Shane
Lamond reserves his right to object to her testimony as well as any reports she authored.
